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                                   8                                  UNITED STATES DISTRICT COURT

                                   9                                 NORTHERN DISTRICT OF CALIFORNIA

                                  10                                          San Francisco Division

                                  11     UNITED STATES OF AMERICA                           Case No. 3:22-mj-70339 LB
                                  12                    Plaintiff,                          DETENTION ORDER
Northern District of California
 United States District Court




                                  13             v.

                                  14
                                         GRANT MCKAY DURTSCHI,
                                  15

                                  16                    Defendant.

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                                          For the reasons stated on the record at the detention hearing, and based on the record
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                                       (including the parties’ submissions and proffers), the court detains the defendant. without
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                                       prejudice to the defendant’s right to seek review or reconsideration. The government must
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                                       establish the risk of non-appearance by a preponderance of the evidence, and it must establish
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                                       danger to the community by clear and convincing evidence. 18 U.S.C. § 3142(f)(2)(B); see United
                                  22
                                       States v. Motamedi, 767 F.2d 1403, 1407 (9th Cir. 1985). The government has met its burden on
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                                       both grounds.
                                  24
                                          The defendant is committed to the custody of the Attorney General or a designated
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                                       representative for confinement in a corrections facility separate, to the extent practicable, from
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                                       persons awaiting or serving sentences or held in custody pending appeal. See 18 U.S.C. §
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                                       3142(i)(2). The defendant must be afforded a reasonable opportunity to consult privately with
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                                       DETENTION ORDER – 3:21-mj-70339 LB
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                                   1   counsel. See id. § 3142(i)(3). On order of a court of the United States or on request of an attorney

                                   2   for the government, the person in charge of the corrections facility must deliver the defendant to

                                   3   the United States Marshal for a court appearance. See id. § 3142s(i)(4).

                                   4      IT IS SO ORDERED.

                                   5      Dated: March 24, 2022

                                   6                                                    ______________________________________
                                                                                        LAUREL BEELER
                                   7                                                    United States Magistrate Judge
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Northern District of California
 United States District Court




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                                       DETENTION ORDER – No. 3:21-mj-70339 LB            2
